914 F.2d 1492Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Victor Loreto BLANCO-CARDENAS, Defendant-Appellant.
    No. 90-6090.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 27, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Herbert F. Murray, Senior District Judge.  (CR Nos. 85-496-HM, 85-497-HM;  CA Nos. 88-2874-HM, 88-2875-HM)
      Victor Loreto Blanco-Cardenas, appellant pro se.
      Glenda Gay Gordon, Office of the United States Attorney, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Victor Loreto Blanco-Cardenas appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny appellant's motion for appointment of counsel and affirm on the reasoning of the district court.  United States v. Blanco-Cardenas, CR-85-496-HM;  CR-85-497-HM;  CA-88-2874-HM;  CA-88-2875-HM (D.Md. May 8, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    